                      Case 4:14-cr-00211-DPM                   Document 804              Filed 06/27/16           Page 1 of 5
AO 245B (Rev 10115) Judgment in a Criminal Case                                                                             FILED
                                                                                                                         US. DISTRICT COURT
                    Sheet I                                                                                          EASTERN DISTRICT ARKANSAS



                                          UNITED STATES DISTRICT COURT
                                                                                                               JAMES                      K
                                                           Eastern District of Arkansas                        By: ___..._--f-+___.i--..<---
                                                                          )
               UNITED STATES OF AMERICA                                   )
                                  v.                                      )
                            David Sawyer                                  )
                                                                                     Case Number: 4: 14-cr-211-DPM-11
                                                                          )
                                                                          )       USM Number: 28825-009
                                                                          )
                                                                          )          Steven Ray Davis
                                                                          )       Defendant· s Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)         43 of the Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                             Offense Ended
 21 U.S.C. § 843(b)                Using a Communication Facility to Facilitate Committing a

                                   Drug Offense, a Class E Felony                                               3/29/2014                 43



       The defendant is sentenced as provided in pages 2 through         __5 _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
Ill Count(s)      1 & 44                                D is      Ill are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenuant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                          6/23/2016
                                                                         Date oflmposition of Judgment




                                                                          D.P. Marshall Jr.                          United States District Judge
                                                                         Name and Title of Judge



                                                                         Date   ).   ?   Jwe. ;}. () /    {p
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AO 245B (Rev. 10/15) Judgment in a Criminal Case
        Sheet 4-Probation
                                                                                                            Judgment-Page _ _ _ of
 DEFENDANT: David Sawyer
 CASE NUMBER: 4: 14-cr-211-DPM-11
                                                                  PROBATION
 The defendant is hereby sentenced to probation for a term of :

 3 years.




 The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check. if applicable.)
 ~        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check. if applicable.)

Ill       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapphcable.)

 D        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probat10n officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applzcable.)
 D        The defendant shall participate in an approved program for domestic violence. (Check. if applicable.)
       If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any 2ersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observea in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the d~fe_ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           perm1ss10n of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
           record or ~ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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AO 245B (Rev. I 0115) Judgment ma Criminal Case
        Sheet 4C - Probat10n
                                                                                                         3_ of
                                                                                         Judgment-Page _ _             5
DEFENDANT: David Sawyer
CASE NUMBER: 4: 14-cr-211-DPM-11

                                         SPECIAL CONDITIONS OF SUPERVISION
  S1) Sawyer must participate, under the guidance and supervision of the probation officer, in a substance-abuse treatment
  program, which must include regular and random drug testing, and may include outpatient counseling, residential
  treatment, or both. Sawyer's drug testing must be on the probation office's accelerated testing schedule.

  S2) Sawyer must perform 150 hours of community service, at least 50 per year until completed.
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AO 245B (Rev 10/15) Judgment ma Cnmmal Case
         Sheet 5 - Cnmmal Monetary Penalties
                                                                                                              Judgment -   Page          of        5
DEFENDANT: David Sawyer
CASE NUMBER: 4: 14-cr-211-DPM-11
                                               CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                              Fine                                  Restitution
TOTALS              $   100.00                                              $    0.00                             $    0.00



 0     The determination ofrestitution is deferred until      . An Amended Judgment in a Criminal Case (AO 245C) will be entered
                                                         ----
       after such determination.

 0     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
       before the United States is paid.

     Name of Payee                                                                  Total Loss*          Restitution Ordered      Priority or Percentage




TOTALS                               $                           0.00


 0      Restitution amount ordered pursuant to plea agreement $

 O      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(£). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 O      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        0   the interest requirement is waived for the       0       fine       0    restitution.

        0   the interest requirement for the     D    fine       0      restitution is modified as follows:

 *Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 245B (Rev 10/15) Judgment in a Cnmmal Case
        Sheet 6 - Schedule of Payments
                                                                                                               Judgment - Page              of
DEFENDANT: David Sawyer
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                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    IZI Lump sum payment of$ _1_0_0_.0_0_ _ __ due immediately, balance due

           D       not later than                                    , or
            i;zi   in accordance        0    C,    O D,         O     E, or     ~   Fbelow; or

 B    D Payment to begin immediately (may be combined with                    oc,         D D, or       D F below); or
 C    D Payment in equal                             (e.g., weekly, monthly. quarterly) installments of $                             over a period of
                           (e.g.. months or years), to commence                        (e.g.. 30 or 60 days) after the date of this judgment: or

D     O Payment in equal                             (e.g.. weekly. monthZv. quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g.. 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    D Payment during the term of supervised release will commence within                    (e.g.. 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time: or

 F    IZI Special instructions regarding the payment of criminal monetary penalties:
             If Sawyer can't pay the special assessment immediately, then he must pay 10 percent of his gross monthly income
             until the assessment is paid in full.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financia1
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest. (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
